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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA
                       COURT FILE NO.: 0:13-CV-02572


Mike Petrillo,

             Plaintiff,
v.                                                         COMPLAINT

Penncro Associates, Inc. and
Dan Walker,
                                                   JURY TRIAL DEMANDED
             Defendants.


                                   JURISDICTION

1.    This action arises out of violations of the Fair Debt Collection Practices Act

      (“FDCPA”), 15 U.S.C. § 1692 et seq., by Defendants and its collection agents

      in their illegal efforts to collect a consumer debt from Plaintiff.

2.    Jurisdiction of this Court arises under 28 U.S.C. § 1331 and pursuant to 15

      U.S.C. § 1692k(d).

3.    Venue is proper in this District because the acts and transactions occurred here,

      Plaintiff resides here, and Defendants transact business here.

                                       PARTIES

4.    Plaintiff Mike Petrillo (hereinafter “Plaintiff”) is a natural person who resides in

      the City of Brainerd, County of Crow Wing, State of Minnesota, and is a

      “consumer” as that term is defined by 15 U.S.C. § 1692a(3).



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5.   Defendant Penncro Associates, Inc. (hereinafter “Penncro”) is a collection

     agency and foreign business corporation operating from an address of 95 James

     Way, Suite 113, Southampton, Pennsylvania 18966, and is a “debt collector” as

     that term is defined by 15 U.S.C. § 1692a(6).

6.   Defendant Dan Walker (hereinafter “Walker”), is a natural person who was

     employed at all times relevant herein by Defendant Penncro as a collection

     agent, and is a “debt collector” as that term is defined by 15 U.S.C. § 1692a(6).

                          FACTUAL ALLEGATIONS

7.   Sometime before October 2012, Plaintiff allegedly incurred a financial

     obligation that was primarily for personal, family or household purposes and

     is therefore a “debt” as that term is defined by 15 U.S.C. § 1692a(5), namely

     the unpaid balance for a loan with Citibank, N.A.

8.   Sometime thereafter, the debt was consigned, placed or otherwise transferred

     to Defendants for collection from Plaintiff.

                 First Illegal Collection Call – October 9, 2012

9.   On or around October 9, 2012, Defendant Penncro’s collector, Defendant

     Walker, caused to be made a collection call to Plaintiff regarding this alleged

     debt, which was a “communication” in an attempt to collect a debt as that

     term is defined by 15 U.S.C. § 1692a(2).




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10.   Defendant Walker’s October 9, 2012, collection call led to a voicemail

      message on Plaintiff’s answering machine, which stated as follows:

             Dan Walker.

11.   Defendant Walker’s October 9, 2012, voicemail message stated nothing

      further than just his name, “Dan Walker.”

12.   In his October 9, 2012, voicemail message to Plaintiff, Defendant Walker

      failed to disclose that the communication was from a debt collector as required

      by the FDCPA at 15 U.S.C. § 1692e(11).

13.   In his October 9, 2012, voicemail message, Defendant Walker also failed to

      disclose to Plaintiff where he was calling from and, as such, failed to

      meaningfully disclose the caller’s identity in violation of the FDCPA at 15

      U.S.C. § 1692d(6).

14.   Defendant Walker’s failure to disclose that he was a debt collector calling

      from Defendant Penncro was an unfair and deceptive attempt to collect this

      debt, which materially misled Plaintiff as to who was calling, and which

      affected and frustrated Plaintiff’s ability to intelligently respond to this call.

15.   This October 9, 2012, collection communication from Defendant Walker was a

      deceptive, misleading and unfair communication in an attempt to collect this

      debt, all done in violation of numerous and multiple provisions of the FDCPA,




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      including but not limited to 15 U.S.C. §§ 1692d(6), 1692e, 1692e(10),

      1692e(11), and 1692f, amongst others.

                   Illegal Third Party Contact – October 9, 2012

16.   On or around October 9, 2012, a collection agent from Defendant Penncro

      contacted Plaintiff’s mother by telephone in effort to collect this debt, which

      was a “communication” in an attempt to collect a debt as that term is defined

      by 15 U.S.C. § 1692a(2).

17.   Upon well-grounded information and belief, Defendant Penncro already had

      Plaintiff’s home telephone number because they had previously left a message

      for Plaintiff on his home telephone answering machine.

18.   However, Defendant Penncro proceeded to contact Plaintiff’s mother in Las

      Vegas, Nevada in an attempt to collect this debt.

19.   During this October 9, 2012, collection call to Plaintiff’s mother, Defendant

      Penncro’s collection agent failed to conform to the allowable communications

      with third parties pursuant to 15 U.S.C. § 1692c(b), namely, by failing to limit

      their request to “location information” as defined by 15 U.S.C. § 1692a(7).

20.   Upon well-grounded information and belief, Defendant Penncro’s collection

      agent failed to state that they were confirming or correcting location

      information concerning the consumer as required by 15 U.S.C. § 1692b(1).




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21.   Moreover, upon well-grounded information and belief, Defendant Penncro’s

      collection agent discussed with Plaintiff’s mother the fact that Plaintiff

      allegedly owed this debt, in violation of the FDCPA at 15 U.S.C. § 1692b(2).

22.   The above-described collection communications made to Plaintiff’s mother, a

      third party, by Defendant Penncro’s collection agent were made in violation of

      numerous and multiple provisions of the FDCPA, including but not limited to

      15 U.S.C. §§ 1692b(1), 1692b(2), 1692c(b), 1692e, 1692e(10), and 1692f,

      amongst others.

                 Second Illegal Collection Call – October 11, 2012

23.   On or around October 11, 2012, Defendant Penncro’s collector, Defendant

      Walker, caused to be made another collection call to Plaintiff regarding this

      alleged debt, which was a “communication” in an attempt to collect a debt as

      that term is defined by 15 U.S.C. § 1692a(2).

24.   Plaintiff answered the October 11, 2012, collection call and heard what

      sounded like a live person saying, “Dan Walker,” followed by an automated

      and recorded message, which provided the disclosures required under 15

      U.S.C. § 1692e(11).

25.   After the recorded message was over, Defendant Walker ended the call or

      hung up.




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26.   Plaintiff answered the October 11, 2012, collection call, but was not

      connected to a live person and the call was ultimately dropped and

      disconnected by Defendant Walker.

27.   During this October 11, 2012, collection call, Defendant Walker failed to

      disclose to Plaintiff where he was calling from and, as such, failed to

      meaningfully disclose the caller’s identity in violation of the FDCPA at 15

      U.S.C. § 1692d(6).

28.   Defendant Walker’s failure to disclose that he was calling from Defendant

      Penncro and his disconnection of the call immediately after Plaintiff answered,

      was an unfair and deceptive attempt to collect this debt, which materially

      misled Plaintiff as to who was calling, and which affected and frustrated

      Plaintiff’s ability to intelligently respond to this call.

29.   This October 11, 2012, collection communication from Defendant Walker was

      a deceptive, misleading and unfair communication in an attempt to collect this

      debt, all done in violation of numerous and multiple provisions of the FDCPA,

      including but not limited to 15 U.S.C. §§ 1692d, 1692d(6), 1692e, 1692e(10),

      and 1692f, amongst others.

                  Third Illegal Collection Call – October 11, 2012

30.   On or around October 11, 2012, Plaintiff’s spouse, Rene’e Petrillo, called

      Defendant Penncro back at the number that continued to call her home.



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31.   During this October 11, 2012, call, Rene’e Petrillo (hereinafter “Rene’e”)

      spoke with Defendant Walker, who demanded payment for this alleged debt,

      which was a “communication” in an attempt to collect a debt as that term is

      defined by 15 U.S.C. § 1692a(2).

32.   Rene’e called Defendant Walker to find out what Defendants were calling

      about.

33.   Once Defendant Walker stated that he was calling about a Citibank loan,

      Rene’e explained that this was not Plaintiff’s debt and therefore Plaintiff was

      not responsible to pay it.

34.   After some back and forth, Defendant Walker raised his voice and became

      belligerent with Plaintiff’s spouse, Rene’e.

35.   Defendant Walker disregarded and ignored Rene’e explanations, and stated

      that Plaintiff and Rene’e were responsible to pay back this debt.

36.   Defendant Walker demanded payment from Plaintiff’s wife, Rene’e, even

      though Rene’e was not married to Plaintiff at the time this debt was incurred,

      and for a debt that Rene’e was certainly not responsible to pay.

37.   Shortly thereafter, Rene’e became very upset about the way she was being

      treated, and she hung up.

38.   Defendant Walker’s October 11, 2012, communication with Rene’e, and his

      illegal demand for payment from her, was a deceptive, misleading and unfair



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      communication in an attempt to collect this debt, all done in violation of

      numerous and multiple provisions of the FDCPA, including but not limited to

      15 U.S.C. §§ 1692d, 1692e, 1692e(5), 1692e(10), 1692f, and 1692f(1),

      amongst others.

                                      Summary

39.   All of the above-described collection communications made to Plaintiff by

      Defendants and the collection employees employed by Defendant Penncro

      were made in violation of numerous and multiple provisions of the FDCPA,

      including but not limited to all of the provisions of the FDCPA cited herein.

40.   Plaintiff has suffered actual damages as a result of these illegal collection

      communications by Defendants in the form of anger, frustration, emotional

      distress, and upset, amongst other negative emotions.

                           Respondeat Superior Liability

41.   The acts and omissions herein of the individuals employed to collect debts by

      Defendant Penncro, and the other debt collectors employed as agents of

      Defendant Penncro who communicated with Plaintiff as more further

      described herein, were committed within the time and space limits of their

      agency relationship with their principal, Defendant Penncro.

42.   The acts and omissions by these individuals and these other debt collectors

      were incidental to, or of the same general nature as, the responsibilities these



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      agents were authorized to perform by Defendant Penncro in collecting

      consumer debts.

43.   By committing these acts and omissions against Plaintiff, these individuals and

      these other debt collectors were motivated to benefit their principal, the

      Defendant Penncro.

44.   Defendant Penncro is therefore liable to Plaintiff through the Doctrine of

      Respondeat Superior for the intentional and negligent acts, errors, and

      omissions done in violation of federal law by its collection employees,

      including but not limited to violations of the FDCPA in their attempts to

      collect this debt from Plaintiff.

                                 TRIAL BY JURY

45.   Plaintiff is entitled to and hereby respectfully demands a trial by jury on all

      issues so triable. US Const. amend. 7. Fed. R. Civ. P. 38.

                              CAUSES OF ACTION

                                      COUNT I.

  VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                              15 U.S.C. § 1692 et seq.

46.   Plaintiff incorporates by reference all of the above paragraphs of this

      Complaint as though fully stated herein.




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47.   The foregoing acts and omissions of Defendants and its agents constitute

      numerous and multiple violations of the FDCPA including, but not limited

      to, each and every one of the above-cited provisions of the FDCPA, 15

      U.S.C. § 1692 et seq., with respect to Plaintiff.

48.   As a result of Defendants’ violations of the FDCPA, Plaintiff is entitled to

      actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in an

      amount up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and,

      reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1692k(a)(3),

      from each Defendant herein.

                             PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays that judgment be entered against each Defendant:

                                     COUNT I.

  VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                              15 U.S.C. § 1692 et seq.

      • for an award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1)

         against each Defendant and for Plaintiff;

      • for an award of statutory damages of $1,000.00 pursuant to 15 U.S.C.

         §1692k(a)(2)(A) against each Defendant and for Plaintiff;

      • for an award of costs of litigation and reasonable attorney’s fees pursuant

         to 15 U.S.C. § 1692k(a)(3) against each Defendant and for Plaintiff; and



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      • for such other and further relief as may be just and proper.

                                            Respectfully submitted,

Dated: September 19, 2013                   BARRY & HELWIG, LLC

                                            By: s/Patrick J. Helwig
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        VERIFICATION OF COMPLAINT AND CERTIFICATION

S TAT E O F M I N N E S O TA )
                             ) ss
COUNTY OF STEARNS )

Pursuant to 28 U.S.C. § 1746, Plaintiff Mike Petrillo, having first been duly sworn
and upon oath, verifies, certifies, and declares as follows:

1. I am a Plaintiff in this civil proceeding.
2. I have read the above-entitled civil Complaint prepared by my attorneys and I
    believe that all of the facts contained in it are true, to the best of my knowledge,
    information and belief formed after reasonable inquiry.
3. I believe that this civil Complaint is well grounded in fact and warranted by
    existing law or by a good faith argument for the extension, modification, or
    reversal of existing law.
4. I believe that this civil Complaint is not interposed for any improper purpose,
    such as to harass any Defendant(s), cause unnecessary delay to any
    Defendant(s), or create a needless increase in the cost of litigation to any
    Defendant(s), named in the Complaint.
5. I have filed this civil Complaint in good faith and solely for the purposes set
    forth in it.
6. Each and every exhibit I have provided to my attorneys which has been attached
    to this Complaint is a true and correct copy of the original.
7. Except for clearly indicated redactions made by my attorneys where appropriate,
    I have not altered, changed, modified, or fabricated these exhibits, except that
    some of the attached exhibits may contain some of my own handwritten
    notations.

I declare under penalty of perjury that the foregoing is true and correct.


Executed            on  ^f          /     f    ,    20    /3
                    Month               Day        Ye a r



             Signature




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